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                                                                  August 26,2019

BY ECF
Honorable Alison J. Nathan
United States District Judge
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

                      Re:   Heleen Mees v. City of New York et al.
                            19 Civ. 7346 (AJN) (KNF)

Your Honor:

         am a Senior Counsel in the Office of Zachary W. Carter, Corporation Counsel of the
          I
City of New York.l Defendant City of New York writes to respectfully request an enlargement
of time to respond to the Complaint from August 28, 201,9, to October 28, 2019. This is
Defendant City's first request for an enlargement of time to respond to the Complaint.2

        Plaintiff filed the Complaint in this action on August 6,2019, alleging, inter alia, that she
was denied due process pursuant to the 14th Amendment of the United States Constitution.
Specifically, Plaintiff accepted an Adjoumment in Contemplation of Dismissal on March 10,
2014 pursuant to New York Criminal Procedure Law $170.55, and now alleges misconduct by
several Assistant District Attorneys regarding that Adjournment in Contemplation of Dismissal.




I Please take notice that this case is assigned to Assistant Corporation Counsel William Gosling,
who is presently awaiting results from the July 2019 Uniform Bar Exam and is assigned to this
matter under my supervision. Mr. Gosling may be reached directly at 212-356-2384 or
wgosling@law.nyc. gov.
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  The City of New York realizes that today's Court Order appears to enlarge its time to Answer.
It was unclear if that was sua sponte or whether the Court mistakenly thought Ms. Krasnow also
represented the City of New York.
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       Today, Defendant City attempted to contact Plaintiff at the telephone number listed on
the docket, as well as the Complaint, with regards to this enlargement request. However,
Plaintiffs telephone number is not in service. Moreover, Defendant City contacted Elizabeth
Krasnow who is the assigned attomey to represent Defendant Manhattan District Attorney's
Office, Cynrs R. Vance Jr, Nitin Savur, Jeanine Launay, and Samatha Schott. Ms. Krasnow
consents to the enlargement.

        Before Defendant City can adequately respond to the Complaint, we will need to conduct
an investigation into the underlying facts. First, we need to obtain from Plaintiff a release
pursuant to New York Criminal Procedure Law $160.50. This Release is necessary to access the
records related to the allegations in the Complaint so that Defendant can satisff its obligations
under Rule l1 of the Federal Rules of Civil Procedure. Defendant City respectfully requests
additionally time in order to obtain the executed release from Plaintiff, and to request and review
the necessary records.

        Therefore, for the reasons stated herein, Defendant City respectfully requests that the
Court grant Defendant City an enlargement of time to respond to the Complaint from August 28,
2019, to October 27,2019.

       Thank you for your consideration of this matter.



                                                                 Respectfully submitted,




                                                                                Nelson
                                                                            Counsel
                                                                     Special Federal Litigation Division




To     Ms. Heleen Mees (Bymail)
       Pro Se Plaintiff
       30 Main Street, Apartment 11H
       Brooklyn, New York 11,201

        ElizabethNorris Krasnow (By ECF)
       Atto rney   for D efendant Manhatt an D is trict Atto rney,
        Cyrus R. Vance, Nitin Savur, Jeanine Launay,
        and Samantha Schott
        One Hogan Place
        New York, New York 10007


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